      Case 3:20-cv-03131-JSC Document 606 Filed 07/22/24 Page 1 of 5



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     Scott Grzenczyk (SBN 279309)           Christopher L. Lebsock (SBN 184546)
 2   Kyle P. Quackenbush (SBN 322401)       Kyle G. Bates (SBN 299114)
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 9   Interim Co-Lead Counsel and Proposed
     Settlement Class Counsel
10

11

12                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
13                             SAN FRANCISCO DIVISION
14

15   IN RE CALIFORNIA GASOLINE SPOT          Case No. 3:20-cv-03131 JSC
     MARKET ANTITRUST LITIGATION
16                                           REPLY IN SUPPORT OF
                                             SETTLEMENT CLASS
17                                           REPRESENTATIVES’ MOTION FOR
                                             PRELIMINARY APPROVAL OF
18                                           CLASS ACTION SETTLEMENT

19                                           Judge:       Hon. Jacqueline Scott Corley
                                             Date:        August 8, 2024
20                                           Time:        10 a.m. PST
                                             Courtroom:   08, 19th Floor
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      REPLY IN SUPPORT OF SETTLEMENT CLASS REPRESENTATIVES’ MOTION FOR
              PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                            CASE NO. 3:20-CV-03131 JSC
       Case 3:20-cv-03131-JSC Document 606 Filed 07/22/24 Page 2 of 5



 1          Settlement Class Representatives respectfully submit this brief reply in support of their
 2   motion for preliminary approval of a class action settlement with Defendants Vitol Inc., Brad
 3   Lucas, SK Energy Americas, Inc., SK Trading International Co. Ltd., and David Niemann, filed
 4   on July 1, 2024. ECF No. 601 (the “Motion”). The deadline to respond to the Motion was July 15,
 5   2024 (id.), and no responses were filed.
 6          As noted in the Motion, the proposed Notice Plan was developed in tandem with and as a
 7   complement to the California Attorney General’s notice plan, with the objective of reducing
 8   administration costs and maximizing the recovery of the Settlement Class. Motion at 25. Given
 9   those considerations, Settlement Class Representatives have respectfully requested that to the
10   extent reasonably practicable, the notice plan schedules be aligned. Id.
11          On July 9, 2024, the California Attorney General filed its notice of a parens patriae
12   settlement, and requested that the court preliminarily assess the settlement reached with
13   defendants Vitol Inc., SK Energy Americas Inc., and SK Trading International Co. Ltd. and
14   approve their proposed notice plan in The People of the State of California v. Vitol Inc. et al, Case
15   No. CGC-20-584456 (the “People’s Action”). In its motion, the California Attorney General
16   proposed the commencement of notice be triggered by either a preliminary approval order being
17   entered in the federal action or by a preliminary approval order being entered in the People’s
18   Action, whichever is later. Id. at 24. This request mirrors the request set forth in Settlement Class
19   Representatives’ Motion and will allow Settlement Class Representatives and the People to
20   further coordinate and reduce administration costs. The chart below reflects the People’s
21   recommended schedule.
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                           Event                            Days After Entry of This Order or an
23                                                              Order in the Federal Action
24
      Filing Notice Setting Calendar Dates for           5 business days
25    the deadlines herein

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28       REPLY IN SUPPORT OF SETTLEMENT CLASS REPRESENTATIVES’ MOTION FOR
                 PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                               CASE NO. 3:20-CV-03131 JSC
       Case 3:20-cv-03131-JSC Document 606 Filed 07/22/24 Page 3 of 5



 1
                          Event                             Days After Entry of This Order or an
 2                                                              Order in the Federal Action
 3    Begin mailing Postcard Notice, emailing          28
      and electronic submission of Email Notice
 4    and Digital Media Notice, initiate
      Publication Notice, release Press Release,
 5    and publication of settlement-related
      material on Settlement Website
 6
      Claim Deadline                                   126
 7
      Exclusion Deadline                               126
 8
      Deadline to submit comments on the               126
 9    Settlement
10    Last day to file motion for final approval       147

11    Notice of intent to appear at approval           Postmarked 20 days or more in advance of
      hearing                                          approval hearing; to be compiled by the
12                                                     Claims Administrator and filed with the Court
                                                       10 days prior to hearing on motion for final
13                                                     approval

14    Hearing on motion for final approval, fees       On a date to be set by the Court, but after the
      motion, and final judgment                       filing of the motion for final approval
15
      Mailing of payments/electronic payment to        Postmarked or submitted electronically within
16    Eligible Consumers                               60 days of final approval

17

18          Upon filing of the People’s motion, a hearing date of August 2 was set, though the parties

19   have not confirmed that the state court intends to proceed to hear the People’s motion on that day.

20   Settlement Class Representatives will continue to keep the Court updated on developments in the

21   People’s Action, and will be prepared to address these and related scheduling considerations at

22   the hearing on Settlement Class Representatives’ Motion.

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28       REPLY IN SUPPORT OF SETTLEMENT CLASS REPRESENTATIVES’ MOTION FOR
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                               CASE NO. 3:20-CV-03131 JSC
       Case 3:20-cv-03131-JSC Document 606 Filed 07/22/24 Page 4 of 5



 1   Dated: July 22, 2024                 Respectfully Submitted,
 2

 3                                        By: /s/ Dena C. Sharp
                                          Dena C. Sharp (SBN 245869)
 4                                        Scott Grzenczyk (SBN 279309)
                                          Kyle P. Quackenbush (SBN 322401)
 5                                        Mikaela M. Bock (SBN 335089)
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10

11                                        By: /s/ Christopher L. Lebsock
                                          Michael P. Lehmann (SBN 77152)
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19
                                          Interim Co-Lead Counsel and Proposed Settlement
20                                        Class Counsel
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28       REPLY IN SUPPORT OF SETTLEMENT CLASS REPRESENTATIVES’ MOTION FOR
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                               CASE NO. 3:20-CV-03131 JSC
       Case 3:20-cv-03131-JSC Document 606 Filed 07/22/24 Page 5 of 5



 1                                   CERTIFICATE OF SERVICE
 2          I hereby certify that on July 22, 2024, I electronically filed the foregoing document using
 3   the CM/ECF system, which will send notification of such filing to all counsel of record registered
 4   in the CM/ECF system.
 5
                                                  /s/ Dena C. Sharp
 6                                                Dena C. Sharp
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28       REPLY IN SUPPORT OF SETTLEMENT CLASS REPRESENTATIVES’ MOTION FOR
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